Case 8:22-cv-02597-DKC Document 36-1

IS d4 (Rey, 04/21)

The JS 44 civil cover sheet and the information contained herein neither re
provided by local rutes of court, This form, approved by the Judicial Con
purpose of initiating the civil docket shect.

Filed 02/28/23. Page 1lof1

CIVIL COVER SHEET

place nor supplement the filing and service of pleadings or other papers as required by law, execpt as
ference of the United States in September 1974, is required for the use of the Clerk of Court for the
(SEE INSTRUCTIONS ON NENT PAGE OF THIS E ‘ORAL?

I. (a) PLAINTIFFS

Northern Virginia Citizens Association
P.O. Box 302, McLean, VA 22104

{b) County of Residence of First Listed Plaintitt
(EXCEPT IN US. PLAINTIED CASES)

(¢)  Attormeys phim Name, dares, ane Telepiinne Number}

Tobin, O'Connor & Ewing, 5335 Wisconsin Ave., NW,
#700, Washington, DC 20015 (202) 362-5900

Fairfax

DEFENDANTS

Federal Highway Administration
1200 New Jersey Ave., SE, Washington, DC 20590

County of Residence of First Listed Defendant Washington DC

CIN US, PLAINTIFF CASES ONLY)

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THE TRACT OF LAND INVOLVE!

NOTE:

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U.S. Govemment
Platutitt

[2 U.S. Government
Defendant

BFS rederal Question

(U.S, Goverment Not a Party)

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ill. CITEZENSHIP OF PRINCIPAL PARTIES Ptace ai “x7 i Que Sox for Maint

(For Diversity Cases Gaby and One Bow for Defendant)

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of Business It This State
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~ NATURE OF SUIT (lace an "NX" in Que Box Oniy)

Click here for: Nature of Suit Code Descriptions. _
BANKRUPTCY OTHER STATUTES

__REAL PROPERTY PROPERTY

CIVIL RIGHTS PRISONER PETITIONS

_] 790 Other Labor Litipation | 865 RSI (405(p)) 891 Agricultural Acts

[210 Land Condenmation
220 Forcelosure

230 Rent Lease & Ejectment
2490 Torts to Land

440 Other Civil Rights
44! Voting
442 Employment

Habeas Corpus:
463 Alien Detaince
510 Motions ta Vacate

791 Employee Retirement 893 Environmental Matters

CONTRACT TORTS FORFEITURE/PENALTY
110 Insweance PERSONAL INJURY PERSONAL. INJURY 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine + 310 Airplane oO 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Linbility | _jes0 Other 28 USC 157 372%a))
140 Negotiable Instrument Liability O 367 Health Cavey "INTELLECTUAL || 400 State Reapportionment
150 Recovery of Overpayment 4 320 Assault, Libel & Pharunaceutical PROPERTY RIGHTS T ) 410 Antitrust
& Enforecinent of Tudgment Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
H 184 Medicare Act |} 330 Federal Employers’ Product Liability | 830 Paicnt [| 430 Commerce
152 Recovery of Detaulted Liability 368 Asbestos Personal $35 Patent - Abbrevinted | 460 Deportation
Stucent Loans 340 Marine Injury Product New Drug Application [..) 470 Racketcer Influenced and
(Excludes Veterans) 345 Marine Product Liability #40 Trademark Conupt Organizations
C7) 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Sccrets | 420 Consumer Credit
of Veteran's Benefits 350 Motor Velicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 {15 USC 1681 or 1692)
169 Steckholders* Suits 333 Motor Vehicle H 371 Truth in Lending Act Bi 485 Telephone Consumer
190 Gther Comact Product Liability .  (_] 380 Other Personal [720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Linbility 360 Other Personal Property Damage Relations 861 HIA (1395f1) H 490 Cable/Sat TV
196 Fy vanchise Injury ([] 385 Property Damage 740 Railway Labor Aci 962 Black Lung (923) 850 Securities/Comemoditica!
| 362 Personal (njury - Product Liability 751 Family and Medical 863 DIWC/DI WW (4050) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI 890 Other Statutory Actians

245 Ton Product Liability
C4] 290 All Other Real Property

| 443 Education

44% Housing? Sentence
Accommodations r] 530 General
[] 445 Amer. w/Disobilities - | 535 Death Penalty
Employment Other:
| 446 Amer. w/Disabilities -[ | 540 Mandamus & Other
Other 550 Civil Rights

555 Prison Condition
460 Civil Detainee -

Conditions of

Income Security Act o F. 895 Freedom of Information
370 ‘Taxes (US. Plaintiff Act
or Defendant) 896 Arbitration
| 871 IRS—Third Pany £99 Administmtive Procedure
| __IMMIGRATION _| 26 USC 7609 Act Review or Appeal of

462 Naturalization Application
465 Other Immigration
Actions

Agency Deeision
|] #50 Constitutionality of
State Statutes

Confi t
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& | Original D2 “Removed from DI 32) Remanded from (-]4 Reinstated or Oo § ‘Transferred trom 6 Multidistrict 18 Muludistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Be not cite jurisdictional statutes sntess diversity}:

VI. CAUSE OF ACTION

42 U.S.C. 4332(C)

Brief description of cause:

declaratory action finding that Defendants have violated the NEPA and awarding injunctive relief

VIL. REQUESTED IN
COMPLAINT:

DC] CHECK IF FIt8 18 A CLASS ACTION
UNDER RULE 23, F.R.Cv.P,

DEMAND $ CHECK YES only if demanded in complain:

JURY DEMAND: [ives [No

VIII. RELATED CASE(S)

IF ANY

(See instructions): JUDGE L L, 45a m 0 Ww

DOCKET NUMBER By 22-CY OaSF7- DKC

DATE

apRa2072 13/52/2622

SIGNATURE OF ATTORNEY OF RECORD

is! David GC. Tobin

FOR OFFICE USE ONLY
RECEIPT @f

AMOUNT

APPLYING IFP

IUDGE MAG. JUDGE

